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                                 UNITED STATES DISTRICT COURT
20
                              NORTHERN DISTRICT OF CALIFORNIA
21
     DANTE DEMARTINI, et al.,                       Case No. 3:22-cv-08991-JSC
22
                            Plaintiffs,             DEFENDANT MICROSOFT
23                                                  CORPORATION’S OPPOSITION TO
                                                    PLAINTIFFS’ MOTION TO HOLD
24   v.
                                                    SEPARATE
25   MICROSOFT CORPORATION,                         Hon. Jacqueline Scott Corley
26                          Defendant.              Hearing Date: November 16, 2023
27                                                  Time: 10:00 a.m.
                                                    Courtroom: 8, 19th Floor
28

                                                    MICROSOFT’S OPP. TO MOTION TO HOLD SEPARATE
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 1   I.      INTRODUCTION
 2           Plaintiffs’ Motion to Hold Separate is simply a differently-labeled attempt to once again
 3   relitigate the preliminary injunction motion they already lost in this Court, that is on appeal in the
 4   Ninth Circuit, and which they lost in their bids for emergency relief in the Ninth Circuit and Supreme
 5   Court. Plaintiffs’ brief is remarkable not just for that, but for its many omissions. Plaintiffs omit that
 6   a request for a “hold separate” order is, under the law, a request for a preliminary injunction. Plaintiffs
 7   omit any mention of the controlling standard applicable to that request. Plaintiffs omit any discussion
 8   of this Court’s prior ruling that Plaintiffs could not meet that standard because they could not satisfy
 9   the element of immediate, irreparable harm required by Winter and the Clayton Act. And Plaintiffs
10   omit any showing on three of the four Winter elements. Nothing has changed since then. Consistent
11   with its prior ruling, the Court should deny Plaintiffs’ motion.
12   II.     LEGAL STANDARD
13           A request for a “hold separate” order is a request for injunctive relief. Edstrom v. Anheuser-
14   Busch InBev Sa/Nv, 2013 U.S. Dist. LEXIS 131386, at *27-28 (N.D. Cal. Sep. 13, 2013); FTC v. Lab.
15   Corp. of Am., 2011 U.S. Dist. LEXIS 20354, at *29-38 (C.D. Cal. Feb. 22, 2011). Accordingly,
16   Plaintiffs have the burden to establish the Winter elements: (1) likelihood of success on the merits, (2)
17   likelihood that they will suffer irreparable harm, (3) that the balance of equities tips in their favor, and
18   (4) that an injunction is in the public interest. Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7,
19   20 (2008); Edstrom, 2013 U.S. Dist. LEXIS 131386, at *27-28.
20           Because Plaintiffs seek a preliminary injunction to address alleged threatened antitrust
21   violations, the Clayton Act also requires them to meet the common law requirements for a preliminary
22   injunction, which specifically include showing a “danger of irreparable loss or damage [that] is
23   immediate.” 15 U.S.C. § 26.
24   III.    ARGUMENT
25           A.      Plaintiffs Seek a Preliminary Injunction, But Make No Showing on Three of the
                     Winter Elements
26

27           Plaintiffs’ motion remarkably provides no guidance as to the legal standard governing their

28   request. The reason for that glaring omission is plain. As just explained, Plaintiffs’ request for a hold-
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 1   separate order is in fact a request for preliminary injunction. And accordingly, Plaintiffs seek “an
 2   extraordinary and drastic remedy.” Villegas Lopez v. Brewer, 680 F.3d 1068, 1072 (9th Cir. 2012).
 3   Just as before, Plaintiffs cannot meet the legal standard.
 4          Plaintiffs fail to provide any argument or evidence on three of the Winter elements: likelihood
 5   of success on the merits, irreparable harm, and public interest. Plaintiffs make a passing reference that
 6   this Court assumed success on the merits when denying their prior Motion for a Preliminary Injunction.
 7   (See Dkt. 276, Mot. at 4:3-5, 4:17-18.) Assuming for argument’s sake is not the same as finding that
 8   Plaintiffs had met their burden. See Nat’l Rifle Ass’n v. Bondi, 61 F.4th 1317, 1323 (11th Cir. 2023)
 9   (“[A]ssumptions are not holdings.”). Plaintiffs cite no authority excusing them from addressing the
10   Winter elements. For this reason alone, their motion must be denied. Indeed, their duplicative bid for
11   a preliminary injunction without even addressing the elements is frivolous.
12          Plaintiffs’ superficial discussion of the third element, the balance of equities, is insufficient to
13   warrant an injunction. Plaintiffs rely almost exclusively on FTC v. Whole Foods Market, Inc., 548
14   F.3d 1028 (D.C. Cir. 2008), but do not explain that Whole Foods did not address a “hold separate”
15   order but rather whether an appellate court had jurisdiction to reverse an order denying a motion to
16   enjoin a merger. While courts indeed have flexibility in fashioning injunctive relief, that authority
17   only exists if the Winter elements are met.1
18          B.      This Court Already Ruled That Plaintiffs Will Suffer No Immediate, Irreparable
                    Harm
19

20          Plaintiffs have already lost under the same legal standards governing their current motion. To

21   warrant a preliminary injunction, the irreparable harm must be “substantial and immediate.” Los

22   Angeles v. Lyons, 461 U.S. 95, 103, 111 (1983); see also Boardman v. Pac. Seafood Grp., 822 F.3d

23   1011, 1022 (9th Cir. 2016). Specifically, Plaintiffs seek a preliminary injunction against an alleged

24   threatened violation of antitrust laws, so by statute they must demonstrate a “danger of irreparable loss

25   or damage [that] is immediate.” 15 U.S.C. § 26.

26
     1
       Prior to Winter, certain district court cases commented that a “hold separate” order is a “lesser”
27   remedy than a full preliminary injunction stopping a merger. See Edstrom, 2013 U.S. Dist. LEXIS
     131386, at *28 n.10. Post-Winter, courts have clarified that the Winter elements for a preliminary
28
     injunction apply. Id.
                                                        2
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 1             As the Court already found, Plaintiffs cannot demonstrate a threat of immediate, irreparable
 2   harm, because “[t]here is nothing in the record that suggests upon the merger Microsoft can do
 3   anything to make the[] Call of Duty versions currently owned by Plaintiffs somehow stop working”
 4   and “it is not likely Microsoft will make any new version of Call of Duty that becomes available before
 5   a decision on the merits exclusive to Microsoft.” (Dkt. 189, Order Denying Mot. for Prelim. Inj., at
 6   p. 5.)
 7             Plaintiffs have made no showing that those facts have changed. Nor could they, because Call
 8   of Duty remains available on the same platforms where it was available before the acquisition closed.
 9   Plaintiffs’ case is further weakened (indeed, obliterated) by a ten-year agreement to keep Call of Duty
10   on Sony PlayStation and an agreement providing that Microsoft will not acquire cloud streaming rights
11   to Activision games (with limited exceptions as needed to fulfill its obligations to third parties and
12   regulators).2 Plaintiffs did not move for reconsideration of the Court’s order. And this Court, the
13   Ninth Circuit, and the Supreme Court each denied their attempts at emergency injunctive relief. This
14   motion is yet another meritless attempt to relitigate their loss.
15             C.     Plaintiffs’ Requested Relief Is Ambiguous, Indefinite, and Improper Post Merger
16             Plaintiffs’ last-ditch effort to obtain preliminary relief also comes too late. Typically, a
17   plaintiff would make a request for a hold separate order in conjunction with any original motion to
18   enjoin the merger, as an additional but lesser form of relief than an outright injunction. Plaintiffs did
19   not seek such relief at any point in the months this case was pending in this Court, or even in their
20   requests for stay pending appeal. Instead, they waited until four days before the closing of the merger
21   before raising this request and did not even seek expedited briefing. While Plaintiffs argue that their
22   motion was triggered by the Court’s May 19 order denying their previous motion for a preliminary
23   injunction, they do not explain why they waited five more months to raise this new and novel claim.
24   Plaintiffs’ motion is accordingly untimely.
25             Further, Microsoft has now acquired Activision, which heightens Plaintiffs’ burden. United
26

27   2
      See, e.g., https://www.cnbc.com/2023/07/16/microsoft-and-sony-sign-deal-to-keep-activisions-call-
     of-duty-on-playstation.html; https://www.cnbc.com/2023/08/22/microsoft-submits-new-activision-
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     blizzard-takeover-deal-to-uk.html
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                                                               MICROSOFT’S OPP. TO MOTION TO HOLD SEPARATE
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 1   States v. Booz Allen Hamilton Inc. is instructive. In Booz Allen Hamilton, the court addressed the
 2   Department of Justice’s post-merger “request for an order directing the defendants to ‘hold all assets
 3   separate.’” 2022 U.S. Dist. LEXIS 198013, at *4 (D. Md. Oct. 31, 2022). As should be the case here,
 4   the court found that the government did not establish a likelihood of success on the merits and the
 5   other elements for that injunctive relief. Id. at *8. But the court further found that the requested relief
 6   constituted “an extreme remedy to address speculative concerns.” Id. That was particularly so because
 7   the government did not “describe what a ‘hold separate’ process would entail, or how the court could
 8   enforce a ‘hold separate’ order with Booz Allen having already acquired EverWatch.” Id. at *5. The
 9   court further questioned whether the matter was even justiciable. Id.
10          The same logic applies here. As in Booz Allen Hamilton, Plaintiffs’ claims of harm are
11   speculative at best. And they do not describe what a “hold separate” process would now entail post-
12   merger, or why it is necessary to maintain the status quo. On the contrary, they concede that Activision
13   will remain a subsidiary of Microsoft and do not explain what has changed since the Court’s prior
14   order denying their motion for a preliminary injunction.
15   IV.    CONCLUSION
16          Microsoft asks the Court to deny Plaintiffs’ Motion to Hold Separate.
17

18   Dated: October 23, 2023                                  Respectfully submitted,
19

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